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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


Estate of Yael Botvin, et al.            :
                                         :
                 Plaintiffs,             :
      v.                                 :             Civil Action No. 1:21-cv-03186 (RCL)
                                         :
Heideman, Nudelman & Kalik, P.C., et al. :
                                         :
                 Defendants.             :


                                                ORDER

        UPON CONSIDERATION of Defendants’ Motion to Dismiss, the accompanying

Memorandum of Points of Authorities, any opposition thereto, and the entire record herein, it is

this ____ day of _____________, 2022,

        ORDERED that the Motion of Defendants Heideman, Nudelman & Kalik, P.C., The

Heideman Law Group, P.C. d/b/a Heideman Nudelman & Kalik, P.C., incorrectly sued

separately as “Heideman, Nudelman & Kalik, P.C., and The Heideman Law Group, P.C.,”

Richard Heideman, Noel Nudelman, and Tracy Reichman Kalik,                   to Dismiss Plaintiffs’

Complaint BE AND HEREBY IS GRANTED, and it is

        FURTHER ORDERED that all of the claims against Defendants Heideman, Nudelman

& Kalik, P.C., The Heideman Law Group, P.C. d/b/a Heideman Nudelman & Kalik, P.C.,

incorrectly sued separately as “Heideman, Nudelman & Kalik, P.C., and The Heideman Law

Group, P.C.,” Richard Heideman, Noel Nudelman, and Tracy Reichman Kalik,                 BE AND

HEREBY ARE DISMISSED WITH PREJUDICE.

        All costs and expenses of this action are assessed against the Plaintiffs.

        This is a final and appealable Order.



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                                    _________________________________
                                    Judge Royce C. Lamberth
                                    U.S. District Court for the District of Columbia


Copies to: All Counsel of Record (by ECF Electronic filing)




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